Case 3:18-cr-00413-ADC Document 477-2 Filed 08/29/18 Page 1 of 2
3,004

UNITED STATES DISTRICT COURT "| Scheduled: 3:0(

FOR THE DISTRICT OF PUERTORICO B79 FSR | SUES

 

MINUTES OF PROCEEDINGS

HONORABLE AIDA DELGADO-COLON, U.S. DISTRICT JUDGE

 

COURTROOM DEPUTY: Sulma Lépez-Defillé DATE: August 29, 2018

COURT REPORTER: Amy Walker CASE #: CR-18-413 (ADC)
ATTORNEYS:

UNITED STATES OF AMERICA ZAUSA Kelly Zenon-Matos

" AUSA Vanessa Bonhomme © Progen

VS.

34 Eliud Acosta-Rivera . Ismael (LOD shee

35 Mario J. Caban-Leon

36 Noris Gautier-Rios

   

 

  

   

. th? tf Sf
37 Domingo Castellanos-Pagan wJose C. Romo-Matien Hf:
om icf o-
Ps GS (4
38 Kevin Roman-Bonilla Manuel L. Morales-Schmidt4 oe reared \
2PH Oa. Ace
39 Christian M. Santiago-Chittenden Vitma R. Valldejuli-Perez ‘
RPM os
40 Junior Tomas Sanchez-Gonzalez 7 Edwin E. Leon-Leon *-"
A] Bryan J. Rivera-Conde Javier A. werles tans P AZ
: re 4
42 Emmanuel Perrocier-Vazquez /Ravinohd L. Sanchez-Maceir
43 Kenneth L. Carrasquilo-Marrero 2)
e
44 Edgardo Castellano-Rivera Ernesto Hernandez-Milan 22a"
‘
A5 Jean Paul Castellano-Rivera YHumberto Guzman-Rodriguez & .
46 Carlos J. Melendez-Fernandez “Kendys Pimentel-Soto: ~f
47 Carlos Melendez-Marrero David Ramos-Pagan QD oaork

\
48 Jonathan Edgardo Villa-Otero he goaeet” ~ Merie-l..Cartes-Cortes

4

tiga
Sperm /G, GF BY ALFIE, CC CL BF Vl C249 YX
Case 3:18-cr-00413-ADC Document 477-2 Filed 08/29/18 Page 2 of 2

J fi MA, pee

49 Jonathan Gonzalez-Agosto go H. Alcala-Laboy

50 Julio C. Rosado-Lacen eaag J. Colon-Aimenas 7
loghly.

51 Hector A. Davila-Encarnacion Victor P. Miranda-Corrada

52 Jose L. Sierra-Lopez 2.100 PY

OM enrouet\, Cr aden), dab A
53 Jaime J. Baez-Torres / attic Doral

54 Otoniel Cabrera-Perez
55 George A. Touma-Abreu
56 Jose L. Melendez-Ramos

57 Carmelo E. Rivera-Rivera

 
 

58 Joel Beltran-Rosario (@
| hie cert
5? Josue O. Encarmacion-Torres Julie A. Soderlund $e
60 Jomar Rashid Torres-Torres Tim Bower-Rocriguez 1 bx or —
61 Lee R. Fontanez-Monell / Jose Agustin Arce-Diaz
, Lo
CédEdgardo R. Lebron-Diaz Luz M. Rios-Rosatiez/3

63 Jean C. Rivera-Castro

64 Roberto C. Ayala-Cancel
65 Joshua L. Collazo

66 Omar Martinez-Encarnacion lan Carlos Beis roneras .

67 FNU LNU aka: Bombi, Ollie
